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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                729 Prospect Realty Service Corp.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  729 Prospect Realty Service Corp.
                                                                                                  c/o Jose E. Suarez
                                  729 Prospect Avenue                                             689 Prospect Avenue
                                  Bronx, NY 10455                                                 Bronx, NY 10455
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Bronx                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor
                                                                              Pg 2 of 41   Case number (if known)
          729 Prospect Realty Service Corp.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5311

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




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Debtor
                                                                           Pg 3 of 41   Case number (if known)
         729 Prospect Realty Service Corp.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
                                                                          Pg 4 of 41   Case number (if known)
          729 Prospect Realty Service Corp.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 13, 2017
                                                  MM / DD / YYYY


                             X   /s/ Jose E. Suarez                                                      Jose E. Suarez
                                 Signature of authorized representative of debtor                        Printed name

                                 Title    Vice President




18. Signature of attorney    X   /s/ Albert H. Barkey                                                     Date March 13, 2017
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Albert H. Barkey
                                 Printed name

                                 Albert H. Barkey, Esq.
                                 Firm name

                                 277 Broadway, Suite 408
                                 New York, NY 10007
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     646-410-1818                  Email address      ahboffice@yahoo.com

                                 1822709
                                 Bar number and State




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      729 Prospect Realty Service Corp.                                                             Case No.
                                                                                  Debtor(s)               Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
        I, Jose E. Suarez, declare under penalty of perjury that I am the Vice President of 729 Prospect Realty Service
Corp.,and that the following is a true and correct copy of the resolutions adopted by the Board of Directors of
said corporation at a special meeting duly called and held on the 6th day of March, 2017 .

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Jose E. Suarez, Vice President of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary
bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Jose E. Suarez, Vice President of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

      Be It Further Resolved, that Jose E. Suarez, Vice President of this Corporation is authorized and directed to
employ Albert H. Barkey, attorney and the law firm of Albert H. Barkey, Esq. to represent the corporation in such
bankruptcy case."

 Date      March 13, 2017                                                       Signed /s/ Jose E. Suarez
                                                                                         Jose E. Suarez




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                                                                     Resolution of Board of Directors
                                                                                    of
                                                                      729 Prospect Realty Service Corp.




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Jose E. Suarez, Vice President of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary
bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Jose E. Suarez, Vice President of this Corporation is authorized and directed
to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts
and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with
such bankruptcy case, and

      Be It Further Resolved, that Jose E. Suarez, Vice President of this Corporation is authorized and directed to
employ Albert H. Barkey, attorney and the law firm of Albert H. Barkey, Esq. to represent the corporation in such
bankruptcy case.

 Date      March 6, 2017                                                           Signed    /s/ Maria Lopez Perez
                                                                                             Maria Lopez Perez, President and Shareholder


 Date      March 6, 2017                                                           Signed    /s/ Daniel Torres
                                                                                             Daniel Torres, Secretary and Shareholder




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
—————————————————————                                Chapter 11
In re:

729 PROSPECT REALTY SERVICE CORP.,                   Case No.

                 Debtor.
—————————————————————

                       LOCAL RULE 1007-2 AFFIDAVIT


STATE OF NEW YORK        )
                         ss.:
COUNTY OF BRONX          )

      JOSE E. SUAREZ, being duly sworn deposes and states:

      1.    I am the Vice President of 729 Prospect Realty Service Corp.

(“Debtor”). And I submit this affidavit pursuant to Local Rule 1007-2.

      2.    Debtor owns a single real-estate asset that is known as 729 Prospect

Avenue, Bronx, NY 10455 (“Premises”). The Premises is an apartment building

with 17 residential apartments. At the time Debtor acquired the Premises it

needed substantial renovation work, to include correcting building violations, and

it had significant tax debts to N.Y.C. The unpaid taxes to N.Y.C. grew because of

accrued interest, and these tax liens were sold by N.Y.C. to third parties. And one

purchaser of a N.Y.C. tax lien commenced a tax foreclosure action against the

Premises. Debtor is seeking both a refinancing and a buyer of the Premises so as

to pay off the liens. However, a foreclosure auction of the Premises has been

scheduled before Debtor has been able to do so.
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      3.    This case was not originally commenced under any other chapter of

the Bankruptcy Code.

      4.    No creditors’ committee has been organized prior to the order for relief

in this chapter 11 case.

      5.    The holder(s) of the 20 largest unsecured claims are: none. All the

Debtor’s creditors are secured claimants. Debtor has no unsecured creditors.

      6.       All secured claims are liquidated and undisputed and are secured by

liens on Debtor’s Premises. The Premises is valued at $2,000,000. The holders of

the five largest secured claims are:

! NYCTL 1998-2 Trust and The Bank of New York Mellon, as Collateral Agent

   and Custodian c/o Phillips Lyte LLP, 28 East Main Street, Suite 1400,

   Rochester, NY 14614; undisputed liquidated claim: $902,774.

! NYCTL 1998-2 c/o MTAG Services, LLC, P.O. Box 4038, Capitol Heights, MD

   20791; undisputed liquidated claim: $314,652.

! NYC Department of Housing, Preservation & Development, Mortgage Services,

   100 Gold Street, New York, NY 10038; undisputed liquidated claim: $242,000.

! NYC Department of Finance, Office of Legal Affairs, 345 Adams Street, 3rd

   Floor, Brooklyn, NY 11201; undisputed liquidated claim: $141,359.

! NYC Water Board DEP/BCS, Bankruptcy Division 13th Floor, 59-17 Junction

   Blvd., Corona, NY 11368; undisputed liquidated claim: $102,348.

      7.    But for its books and records, Debtor’s sole asset is its Premises


                                            2
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valued at $2,000,000. Debtor believes that Premises will increase in value because

of a recently issued N.Y.C. certificate of eligibility for a 90% tax abatement for 14

years duration. Debtor’s liabilities are secured claims totaling $1,703,133 and no

unsecured claims.

      8.     No securities (shares of stock) in/of Debtor are publicly held.

      9.     No property of Debtor is in the possession/custody of any other entity.

      10.    Debtor’s sole premises is its wholly owned Premises known as 729

Prospect Avenue, Bronx, NY 10455.

      11.    But for its books and records, Debtor’s sole asset is its Premises.

Debtor’s books and records are held by me: Jose E. Suarez as Vice President, at

689 Prospect Avenue, Bronx, NY 10455.

      12.    There is a foreclosure action in the Bronx Supreme Court against

Debtor in which a tax foreclosure auction of the Premises is scheduled: NYCTL

1998-2 Trust and The Bank of New York Mellon, as Collateral Agent and

Custodian against Debtor; Index No. 260350/2014.

      13.    I — Jose E. Suarez, Vice President and shareholder — have been and

am the acting senior management since the Debtor acquired the Premises. I

manage the building and keep the books and records of the Debtor. My salary is

and will be $2,000 per month. Debtor’s unpaid President and shareholder is Maria

Lopez Perez. Debtor’s Secretary/Treasurer and shareholder is Daniel Torres, who

is paid $1,000 per month.


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       14.    Debtor intends to refinance or sell the Premises to pay all creditors

in full from the proceeds thereof. Other than its residential apartment building,

Debtor is not operating a business and Debtor does not intend to operate a

business.

                                              Respectfully submitted,


                                              /s/ Jose E. Suarez

                                              JOSE E. SUAREZ
                                              Vice President
                                              729 Prospect Realty Service Corp.
                                              729 Prospect Avenue
                                              Bronx, NY 10455


Sworn to and subscribed before me
this 13th day of March 2017:

/s/ Albert H. Barkey

ALBERT H. BARKEY
Notary Public, State of New York
No. 02BA4769674
Qualified in Richmond County
Commission Expires Septem ber 30, 2018




                                              4
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 Fill in this information to identify the case:

 Debtor name         729 Prospect Realty Service Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 13, 2017                          X /s/ Jose E. Suarez
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jose E. Suarez
                                                                       Printed name

                                                                       Vice President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name 729 Prospect Realty Service Corp.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 -NONE-




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Fill in this information to identify the case:

 Debtor name            729 Prospect Realty Service Corp.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                           Check if this is an
                                                                                                                                                                                           amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                      $        2,000,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                         $              3,342.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                        $        2,003,342.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                      $        1,703,133.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                         $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                 +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                               $           1,703,133.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                     page 1
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 Fill in this information to identify the case:

 Debtor name         729 Prospect Realty Service Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     JPMorgan Chase Bank                                     Checking                        8506                                     $3,342.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $3,342.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         729 Prospect Realty Service Corp.                                              Case number (If known)
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and           Net book value of      Valuation method used   Current value of
           property                                       extent of            debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest    (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Apartment Building
                     729 Prospect
                     Avenue, Bronx, NY
                     10455
                     Bronx, Block 02675,
                     Lot 0053                             Fee simple                    Unknown       Appraisal                       $2,000,000.00




 56.       Total of Part 9.                                                                                                         $2,000,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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                                                                            Pg 16 of 41
 Debtor         729 Prospect Realty Service Corp.                                            Case number (If known)
                Name



 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                            Current value of
                                                                                                                            debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Business records                                                                                                                  $0.00




 78.        Total of Part 11.                                                                                                              $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
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 Debtor          729 Prospect Realty Service Corp.                                                                   Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $3,342.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $2,000,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                $3,342.00         + 91b.            $2,000,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,003,342.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
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                                                                                  Pg 18 of 41
 Fill in this information to identify the case:

 Debtor name         729 Prospect Realty Service Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       BankNewYorkMellon
 2.1                                                  Describe debtor's property that is subject to a lien                 $902,774.00             $2,000,000.00
       NYCTL 1998-2
       Creditor's Name                                Apartment Building
       c/o Phillips Lytle LLP                         729 Prospect Avenue, Bronx, NY 10455
       28 East Main Street, Ste                       Bronx, Block 02675, Lot 0053
       1400
       Rochester, NY 14614-1935
       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2016                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9499
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. NYC Dept of HPD
       2. BankNewYorkMellon
       NYCTL 1998-2
       3. NYCTL 1998-2
       4. NYC Dept of Finance
       5. NYC Water Board
       DEP/BCS

 2.2   NYC Dept of Finance                            Describe debtor's property that is subject to a lien                 $141,359.00             $2,000,000.00
       Creditor's Name                                Apartment Building
       Office of Legal Affairs                        729 Prospect Avenue, Bronx, NY 10455
       345 Adams St, 3rd Floor                        Bronx, Block 02675, Lot 0053
       Brooklyn, NY 11201
       Creditor's mailing address                     Describe the lien
                                                      Statutory Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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 Debtor       729 Prospect Realty Service Corp.                                                        Case number (if know)
              Name

                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       to filing                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0053
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.3   NYC Dept of HPD                                Describe debtor's property that is subject to a lien                     $242,000.00   $2,000,000.00
       Creditor's Name                                Apartment Building
       Mortgage Services                              729 Prospect Avenue, Bronx, NY 10455
       100 Gold Street,                               Bronx, Block 02675, Lot 0053
       New York, NY 10038
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2005                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2303
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.4   NYC Water Board DEP/BCS                        Describe debtor's property that is subject to a lien                     $102,348.00   $2,000,000.00
       Creditor's Name                                Apartment Building
       Bankruptcy Div 13th Floor                      729 Prospect Avenue, Bronx, NY 10455
       59-17 Junction Blvd                            Bronx, Block 02675, Lot 0053
       Corona, NY 11368
       Creditor's mailing address                     Describe the lien
                                                      Statutory Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       to filing                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9001
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.5   NYCTL 1998-2                                   Describe debtor's property that is subject to a lien                     $314,652.00   $2,000,000.00



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 3
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 Debtor       729 Prospect Realty Service Corp.                                                        Case number (if know)
              Name

       Creditor's Name                                Apartment Building
       c/o MTAG Services, LLC                         729 Prospect Avenue, Bronx, NY 10455
       P.O. Box 4038                                  Bronx, Block 02675, Lot 0053
       Capitol Heights, MD 20791
       Creditor's mailing address                     Describe the lien
                                                      Statutory Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2014                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0053
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

                                                                                                                               $1,703,133.0
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          0

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        MTAG Services, LLC
        P.O. Box 223762                                                                                         Line   2.5                             0053
        Pittsburgh, PA 15251-2762

        NYC Law Department
        Tax & Bankruptcy Division                                                                               Line   2.3
        100 Church Street
        New York, NY 10007

        NYC Law Department
        Tax & Bankruptcy Division                                                                               Line   2.2                             0053
        100 Church Street
        New York, NY 10007

        NYC Law Department
        Tax & Bankruptcy Division                                                                               Line   2.4                             0053
        100 Church Street
        New York, NY 10007

        NYCTL 1998-2 Trust
        c/o MTAG Services, LLC                                                                                  Line   2.1                             9499
        P.O. Box 4038
        Capitol Heights, MD 20791




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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           17-10599-mkv                   Doc 1          Filed 03/13/17          Entered 03/13/17 08:53:18                            Main Document
                                                                               Pg 21 of 41
 Fill in this information to identify the case:

 Debtor name         729 Prospect Realty Service Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

     1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
        out and attach the Additional Page of Part 2.
 3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                                Contingent
                                                                                Unliquidated
           Date or dates debt was incurred
                                                                                Disputed
           Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?       No     Yes


 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                     related creditor (if any) listed?               account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                            0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                              0.00




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 1
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                                                                           Pg 22 of 41
 Fill in this information to identify the case:

 Debtor name         729 Prospect Realty Service Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Debtor is lessor in
             lease is for and the nature of               residential lease for
             the debtor's interest                        apartment 3-A, rent
                                                          stabilized, ending
                                                          5/30/2017 at $1,310.50
                                                          per month.
                  State the term remaining                2 full months
                                                                                        Bladimir Martinez & Juan Lopez
             List the contract number of any                                            729 Prospect Avenue # 3-A
                   government contract       --                                         Bronx, NY 10455


 2.2.        State what the contract or                   Debtor is lessor in
             lease is for and the nature of               residential lease for
             the debtor's interest                        apartment 1-B, rent
                                                          stabilized, ending
                                                          10/31/2017 at $1,000.54
                                                          per month.
                  State the term remaining                7 full months
                                                                                        Carlos Alcibar
             List the contract number of any                                            729 Prospect Avenue # 1-B
                   government contract       --                                         Bronx, NY 10455


 2.3.        State what the contract or                   Debtor is lessor in
             lease is for and the nature of               residential lease for
             the debtor's interest                        apartment 2-C, rent
                                                          stabilized, ending
                                                          4/30/2017 at $889.38 per
                                                          month.
                  State the term remaining                1 full months
                                                                                        Carlos Lucas
             List the contract number of any                                            729 Prospect Avenue # 2-C
                   government contract       --                                         Bronx, NY 10455


 2.4.        State what the contract or                   Debtor is lessor in
             lease is for and the nature of               residential lease for
             the debtor's interest                        apartment 2-B, rent
                                                          stabilized, ending            Guillermo Jacobo
                                                          8/30/2017 at $1,388.50        729 Prospect Avenue # 2-B
                                                          per month.                    Bronx, NY 10455

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 4
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                                                                                 Pg 23 of 41
 Debtor 1 729 Prospect Realty Service Corp.                                                      Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                5 full months

             List the contract number of any
                   government contract       --


 2.5.        State what the contract or                   Debtor is lessor in
             lease is for and the nature of               residential lease for
             the debtor's interest                        apartment 3-C, rent
                                                          stabilized, ending
                                                          6/30/2018 at $1, 017.23
                                                          per month.
                  State the term remaining                15 full months
                                                                                         Jose Alvarado
             List the contract number of any                                             729 Prospect Avenue # 3-C
                   government contract       --                                          Bronx, NY 10455


 2.6.        State what the contract or                   Debtor is lessor in
             lease is for and the nature of               residential lease for
             the debtor's interest                        apartment 1-S, rent
                                                          stabilized, ending
                                                          10/30/2017 at $1,260.48
                                                          per month.
                  State the term remaining                7 full months
                                                                                         Marciana Rivera
             List the contract number of any                                             729 Prospect Avenue # 1-S
                   government contract       --                                          Bronx, NY 10455


 2.7.        State what the contract or                   Debtor is lessor in
             lease is for and the nature of               residential lease for
             the debtor's interest                        apartment 1-R, rent
                                                          stabilized, ending
                                                          5/24/2017 at $941.37 per
                                                          month.
                  State the term remaining                3 months
                                                                                         Orlando Alonzo
             List the contract number of any                                             729 Prospect Avenue # 1-R
                   government contract       --                                          Bronx, NY 10455


 2.8.        State what the contract or                   Debtor is lessor in
             lease is for and the nature of               residential lease for
             the debtor's interest                        apartment BSMT-2, rent
                                                          stabilized, ending
                                                          3/30/2017 at $800.00 per
                                                          month.
                  State the term remaining                17 days
                                                                                         Ramon Hilario
             List the contract number of any                                             729 Prospect Avenue # BSMT-2
                   government contract       --                                          Bronx, NY 10455




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 4
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 Debtor 1 729 Prospect Realty Service Corp.                                                      Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.9.        State what the contract or                   Debtor is lessor in rent
             lease is for and the nature of               controlled apartment #
             the debtor's interest                        1-N at $268.08 per
                                                          month.
                  State the term remaining                indefinite
                                                                                         Rosalia Gonzalez
             List the contract number of any                                             729 Prospect Avenue # 1-N
                   government contract       --                                          Bronx, NY 10455


 2.10.       State what the contract or                   Debtor is lessor in
             lease is for and the nature of               residential lease for
             the debtor's interest                        apartment 4-B, rent
                                                          stabilized, ending
                                                          10/30/2018 at $1,361.80
                                                          per month.
                  State the term remaining                19 full months
                                                                                         Rosi Espinobarros
             List the contract number of any                                             719 Prospect Avenue # 4-B
                   government contract       --                                          Bronx, NY 10455


 2.11.       State what the contract or                   Debtor is lessor in
             lease is for and the nature of               residential lease for
             the debtor's interest                        apartment 4-C, rent
                                                          stabilized, ending
                                                          10/30/2018 at $1,416.27
                                                          per month.
                  State the term remaining                19 full months
                                                                                         Sonia Garcia
             List the contract number of any                                             729 Prospect Avenue # 4-C
                   government contract       --                                          Bronx, NY 10455


 2.12.       State what the contract or                   Debtor is lessor in
             lease is for and the nature of               residential lease for
             the debtor's interest                        apartment 1-C, rent
                                                          stabilized, ending
                                                          10/30/2018 at $1,356.50
                                                          per month.
                  State the term remaining                19 full months
                                                                                         Wilberto Prospero
             List the contract number of any                                             729 Prospect Avenue # 1-C
                   government contract       --                                          Bronx, NY 10455


 2.13.       State what the contract or                   Debtor is lessor in
             lease is for and the nature of               residential lease for
             the debtor's interest                        apartment BSMT-1, rent
                                                          stabilized, ending
                                                          9/30/201 at $916.00 per
                                                          month.
                  State the term remaining                6 full months
                                                                                         Yonatan Alberto Nunez
             List the contract number of any                                             729 Prospect Avenue # BSMT-1
                   government contract       --                                          Bronx, NY 10455

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 3 of 4
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                                                                                 Pg 25 of 41
 Debtor 1 729 Prospect Realty Service Corp.                                                      Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 4 of 4
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                                                                             Pg 26 of 41
 Fill in this information to identify the case:

 Debtor name         729 Prospect Realty Service Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code




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 Fill in this information to identify the case:

 Debtor name         729 Prospect Realty Service Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                 $45,455.00
       From 1/01/2017 to Filing Date
                                                                                                   Other    Rental income


       For prior year:                                                                             Operating a business                               $169,136.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other    Rental income


       For year before that:                                                                       Operating a business                               $135,380.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other    Rental income

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
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    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    NYCTL 1998-2 Trust and The                        Tax foreclosure            NY Supreme Court, Bronx                      Pending
               Bank of New York, as                                                         County                                       On appeal
               Collateral Agent and                                                         851 Grand Concourse
                                                                                                                                         Concluded
               Custodian, vs. 729 Prospect                                                  Bronx, NY 10451
               Realty Service Corp., et al.
               260350/2014

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None
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       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     Albert H. Barkey, Esq.
                 277 Broadway, Ste 408
                 New York, NY 10007                                  --                                                        3/13/2017                 $5,000.00

                 Email or website address
                 ahboffice@yahoo.com

                 Who made the payment, if not debtor?
                 Debtor paid $2,500 and Jose E.
                 Suarez paid $2,500; includes court
                 filing fee of $1,717.



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                     Dates of occupancy
                                                                                                                             From-To

 Part 8:       Health Care Bankruptcies

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15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




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21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To



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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Jose E. Suarez                                                                                                       1/1/2015 through
                    689 Prospect Avenue                                                                                                  3/12/2017
                    Bronx, NY 10455

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Jose E. Suarez
                    689 Prospect Avenue
                    Bronx, NY 10455

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Marie Lopez Perez                              689 Prospect Avenue                                 President and shareholder             34 %
                                                      Bronx, NY 10455

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Daniel Torres                                  689 Prospect Avenue                                 Secretary & Treasurer and             33 %
                                                      Bronx, NY 10455                                     shareholder

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jose E. Suarez                                 2558 Grand Concourse # 2D                           Vice-president and                    33 %
                                                      Bronx, NY 10458                                     shareholder



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

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 Debtor      729 Prospect Realty Service Corp.                                                          Case number (if known)




30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Jose E. Suarez                                                                                                                 management &
       .    2258 Grand Concourse # 2D                            $20,000 in calendar year 2016; year 2017                ongoing           bookkeeping
               Bronx, NY 10458                                   regular salary of $2,000 per month.                     regular salary    services

               Relationship to debtor
               Vice-president and
               shareholder


       30.2 Daniel Torres                                                                                                ongoing
       .    689 Prospect Avenue                                  $24,000 in calendar year 2016; year 2017                regular           management
               Bronx, NY 10455                                   regular payment of $1,000 per month.                    payment           services

               Relationship to debtor
               Secretary/Treasurer and
               shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      729 Prospect Realty Service Corp.                                                          Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 13, 2017

 /s/ Jose E. Suarez                                                     Jose E. Suarez
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Vice President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re       729 Prospect Realty Service Corp.                                                                Case No.
                                                                                    Debtor(s)                 Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept                                                  $
             Prior to the filing of this statement I have received                                        $
             Balance Due                                                                                  $

              RETAINER
             For legal services, I have agreed to accept and received a retainer of                       $                  5,000.00
             The undersigned shall bill against the retainer at an hourly rate of                         $                      360.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Debtor has paid $2,500 and Jose E. Suarez has paid $2,500.

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.




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                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 13, 2017                                                             /s/ Albert H. Barkey
     Date                                                                       Albert H. Barkey
                                                                                Signature of Attorney
                                                                                Albert H. Barkey, Esq.
                                                                                277 Broadway, Suite 408
                                                                                New York, NY 10007
                                                                                646-410-1818 Fax: 646-219-3072
                                                                                ahboffice@yahoo.com
                                                                                Name of law firm




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                                                                     Southern District of New York
 In re      729 Prospect Realty Service Corp.                                                                         Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Daniel Torres                                                       common stock 66 shares                                      shareholder equity
 689 Prospect Avenue
 Bronx, NY 10455

 Jose E. Suarez                                                      common stock 66 shares                                      shareholder equity
 2558 Grand Concourse # 2D
 Bronx, NY 10458

 Maria Lopez Perez                                                   common stock 68 shares                                      shareholder equity
 689 Prospect Avenue
 Bronx, NY 10455


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Vice President of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date March 13, 2017                                                         Signature /s/ Jose E. Suarez
                                                                                            Jose E. Suarez

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      729 Prospect Realty Service Corp.                                                           Case No.
                                                                                   Debtor(s)            Chapter      11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Vice President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       March 13, 2017                                             /s/ Jose E. Suarez
                                                                        Jose E. Suarez/Vice President
                                                                        Signer/Title




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      729 Prospect Realty Service Corp.                                                            Case No.
                                                                                   Debtor(s)             Chapter      11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 729 Prospect Realty Service Corp. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 13, 2017                                                       /s/ Albert H. Barkey
 Date                                                                 Albert H. Barkey
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for 729 Prospect Realty Service Corp.
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